                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 COINS ‘N THINGS, INC.,

        Plaintiff/Defendant-in-Counterclaim,
                                                           Civil Action No. 18-10257-RWZ
 v.

 UNITED STATES POSTAL SERVICE,

        Defendant/Plaintiff-in-Counterclaim.


 UNITED STATES POSTAL SERVICE’S MEMORANDUM OF LAW IN SUPPORT OF
 ITS MOTION TO DISMISS COUNTS I AND III OF THE PLAINTIFF’S COMPLAINT

I.     INTRODUCTION

       On February 8, 2018, Plaintiff, Coins ‘N Things (“CNT”), filed a Complaint “in the nature

of an appeal of a deficiency assessment” by the Defendant, United States Postal Service (the

“Postal Service”). Doc. 1 (“Compl.”). In addition to an administrative appeal (Compl. at Count

II), CNT makes equitable claims against the Postal Service, alleging equitable estoppel (Compl. at

Count I) and claiming unjust enrichment (Compl. at Count III). On June 13, 2018, this Court held

a status conference, and after hearing brief argument regarding CNT’s equitable claims against the

Postal Service, this Court ordered the parties to brief the viability of CNT’s equitable claims as a

matter of law. Doc. 19.

       In seeking equitable relief against the Postal Service, CNT asks this Court to act without

subject matter jurisdiction, and contrary to governing law in reviewing the Postal Service’s

decision to assess a revenue deficiency against CNT on equitable grounds. “[N]on-statutory

review” of Postal Service decisions “is available only to determine whether the agency has acted

‘ultra vires’—that is, whether it has ‘exceeded its statutory authority.’” Mittleman v. Postal

Regulatory Commission, 757 F.3d 300, 307 (D.C. Cir. 2014). Although this Court may review a
final agency decision of the Postal Service, this Court cannot make factual findings or substitute

its judgment for that of the Postal Service, nor can it grant CNT the equitable relief it seeks.

       Not only does this Court lack subject matter jurisdiction to consider CNT’s equitable

claims, CNT’s Complaint provides no basis for this Court to conclude that the Postal Service’s

Pricing Classification Service Center (“PCSC”) exceeded its authority, or acted ultra vires, in

resolving the underlying mail postage deficiency against CNT, especially when it applied clear

published regulations in doing so.

       Accordingly, for the reasons that follow, this Court must dismiss Counts I and III of CNT’s

Complaint.

II.    FACTUAL BACKGROUND AND FINAL AGENCY DECISION

       A.       Final Agency Decision

       In December of 2008, the Postal Inspection Service commenced an investigation of a

potential revenue deficiency involving CNT’s registered mailing practices. See Doc. 24,

Administrative Record (“AR”) at 22. As part of the investigation, the Postal Inspection Service

issued a subpoena to CNT, dated March 6, 2009, requiring CNT:

                For the period, December 1, 2007 through the present, please
                provide all business records relating to the actual value of items
                mailed via Registered Mail on behalf of Coins N’ Things, or by
                Coins N’ Things on behalf of third parties, including but not limited
                to:
             1. Records of mailings, mailing transaction logs, packaging slips,
                Registered Numbers and Article Numbers.
             2. Customer account records, customer billing records, purchase
                orders, billing statements, product inventory records that relate to,
                or are associated with, any and all registered mailings made through
                the US Postal Service.




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AR at 34-35; see also Compl. ¶ 28 (similar); compare Doc. 17 (“Countercl.”) ¶29 with Doc. 20

(“Pl. Ans.”) ¶29 (admitting). CNT produced records pursuant to the subpoena (Compl. ¶ 30) to

the Postal Inspection Service in five installments covering the following specified periods: (1)

December 1, 2007 through February 29, 2008; (2) March 1, 2008, through May 31, 2008; (3) June

1, 2008 through August 31, 2008; (4) September 1, 2008 through November 30, 2008; and (5)

December 1, 2008 through March 6, 2009. AR at 59-65. For each installment of records produced,

CNT provided a certification of compliance with the subpoena for the stated timeframe. Id.;

compare Countercl. ¶ 30 with Pl.’s Ans. ¶ 30. Except for the first production installment above,

each certification noted that the attached records did not include “United States Postal Service

records (firm books and manifests).” Id.

        On November 13, 2014, citing to the Domestic Mail Manual,1 and the Postal Inspection

Service investigation, the Postal Service’s Revenue and Compliance Office issued a revenue

deficiency notice to CNT in which it demanded $225,826.20 for Registered Mail parcels CNT

shipped from December 1, 2007, to February 28, 2009, as a result of CNT’s failure to comply with

Postal regulations. AR at 20-21A. In assessing the deficiency, the Postal Service explained, inter

alia:

               During the course of a security review in October 2008, the United
               States Postal Inspection Service (USPIS) became aware that Coins
               N’ Things (CNT) was not declaring the actual value as required on
               the Registered Mail logs.
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  The Domestic Mail Manual (“DMM”) is a Postal Service regulation established under its
authority in 39 U.S.C. § 401(2), which sets forth the Postal Service’s mailing standards (the
“regulations”). See 39 C.F.R. §§ 111.1, 211.2(a)(2). The regulations specify that the value to be
declared for precious metals sent with Registered Mail services is the market value or cost. DMM
503.2.3.1.

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                Coins N’ Things failed to follow the guidelines outlined in the
                Domestic Mail Manual.

                On December 3, 2008 US Postal Inspector Joseph Gugliotta
                observed the processing of CNT’s Registered Mail along with
                reviewing historical firm books and manifests submitted by CNT
                where it revealed that in November 2008 CNT was registering
                pieces with substantial declared values (i.e. $22,500, $30,000,
                $45,000) for a period of time in November and then reverted to
                declaring values at either $100 or $1,000.

                On December 8, 2008 Inspector Gugliotta returned to the
                Bridgewater Post Office to interview Officer-In-Charge Michelle
                Morris and recover additional firm books and manifest. During the
                course of the interview Mrs. Morris stated that a Mr. Al Brown,
                shipping department manager, had been contacted and informed of
                the requirement to declare the actual value…

                Revenue loss to the USPS occurred between December 1, 2007 and
                February 28, 2009 and were [sic] a direct result of CNT under
                claiming actual value of its parcels. Since CNT was unable to
                provide documentation disclosing how much actual value was
                individually shipped in any of their Registered Mail parcels, an
                average was used to calculate loss.

Id. CNT timely appealed the deficiency, by letter dated January 10, 2014, to the PCSC.2 AR at

40-51.

         In its appeal, CNT made three primary arguments. First, CNT argued that because Postal

Service employees told CNT that the “value to be declared for Registered Mail was limited to the

insurance coverage customers sought from the Service,” CNT “reasonably relied upon the

representations,” and therefore the Postal Service was estopped from collecting the revenue

deficiency assessment.    AR at 40-44.     Next, CNT argued that enforcement of deficiency




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  The PCSC is the agency’s final decision-maker for revenue deficiencies. Its role in adjudicating
revenue deficiencies is to determine whether a deficiency exists and whether the amount of the
deficiency was calculated correctly; the PCSC may not, however, grant exceptions to the
regulations. DMM § 607.1.3.
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assessment would result in unjust enrichment to the Postal Service and would violate the

requirement that fees be fair and reasonable in accordance with 39 U.S.C. § 403. AR at 44-45.

Third, CNT argued in its appeal that the “deficiency assessment calculation is lacking in reasoned

decision making….” Id. at 000046.

       Ultimately, the PCSC denied CNT’s appeal in a written final agency decision dated July

27, 2015. AR at 12-14. The final agency decision noted the PCSC’s consideration of CNT’s

arguments, and the documents submitted as part of its appeal. One of those documents included

e-mail correspondence dated April 20, 2009, between the Postal Service’s Help Desk, and Ms.

Carol Tyler, who identified herself as CNT’s insurance agent. AR at 48-49. In the e-mail, Ms.

Tyler stated that CNT’s insurance underwriters did not allow their clients, including CNT, to

declare the full value of their shipped parcels because they were shipping precious metals and

jewelry, and seeking the specific federal law that made the requirement to declare full value

enforceable. Id. In response, the Postal Service Help Desk incorrectly informed Ms. Tyler that

“mailers are not required by law to list the actual value of the item when shipping domestically

with Registered Mail.” Id. at 12-14.      In issuing its final agency decision, the PCSC properly

informed CNT that “[a] mailer must comply with all applicable postal standards. Despite any

statement in this document or by any USPS employee, the burden rest with the mailer to comply

with the laws and standards governing the domestic mail.” Id. at 13. The PCSC explained that its

decision was limited solely to consideration of the assessment, i.e., whether the mail classification

decision underlying the deficiency and calculation of the amount by which postage had been

underpaid was correct, and concluded that the decision underlying the deficiency and calculation

of the amount by which CNT underpaid postage was correct. Id. at 14.



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       B.      CNT’s 2015 Complaint And Recission Of Deficiency Assessment

       After its appeal was denied, CNT filed a complaint in this Court on September 22, 2015.

(1:15-cv-13377). On October 15, 2015, the Postal Service rescinded the deficiency assessment

while reserving its “right to reissue a decision.” AR at 11. On October 30, 2015, CNT voluntary

dismissed its complaint without prejudice.

       C.      The Postal Service Conducts A Further Review And Reissues Its Decision

       On April 3, 2017, the Postal Service provided CNT with the 2013 revenue deficiency

assessment letter, its investigative memorandum and exhibits, CNT’s registered mail manifests,

and CNT’s invoices used to calculate the deficiency assessment. AR at 9. At that time, the PCSC

also requested further information from CNT, and requested that CNT provide the information

within sixty (60) days. Id. The Postal Service informed CNT that its response would be added to

the administrative record in the case, would be considered before a final agency decision was

reached, and in the absence of receiving additional documentation, the PCSC would issue a

deficiency with the record it had before it, and the decision issues on July 27, 2015 would stand as

the final agency decision. Id.

       Despite granting CNT several extensions of time by which to produce additional

documentation, CNT did not submit further documentation or information as requested by the

Postal Service. AR at 1. As a result, on November 9, 2017, the PCSC issued a letter stating that

the July 27, 2015 decision would “stand as the final agency decision.” Id. at 1-14. CNT’s

Complaint in this Court followed. See Compl., generally.

       D.      CNT Files The Instant Complaint

       After receiving the final agency decision, CNT filed the instant Complaint asking this

Court to reverse and enjoin enforcement of the Postal Service’s final agency decision based on

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similar arguments it made in its appeal before the PCSC: (1) equitable estoppel, based upon CNT’s

alleged “reasonable reliance” upon Postal Service employee statements in undervaluing its

declared values for Registered Mail services (Compl. ¶¶ 36-44); (2) that the Postal Service failed

to give reasoned consideration to the material facts and issues raised by CNT in its appeal (Compl.

¶¶ 45-51); and (3) that CNT’s payment of the deficiency assessment to the Postal Service would

result in unjust enrichment, because the additional payment does not approximate or correlate with

the services that were already rendered to CNT (Compl. ¶¶ 52-59).

       The Postal Service filed an Answer and Counterclaim (Doc. 17) seeking (1) judgment on

its claim for debt pursuant to the Federal Debt Collection Procedure Act, 28 U.S.C. § 3001 et seq.

(Count I), unjust enrichment (Count II), and declaratory relief (Count III) to include a declaration

that CNT owes the Postal Service for its failure to pay $225,826 that it was legally obligated to

pay for postal services, with post-judgment interest and any further relief this Court deems proper.

III.   ARGUMENT

       A.      This Court Lacks Subject Matter Jurisdiction To Consider CNT’s Equitable
               Claims

       “As an entity of the United States government, the [Postal Service] may not be sued except

to the extent that Congress has expressly waived the United States’s sovereign immunity from

suit.” Lane v. Peña, 518 U.S. 187, 192 (1996). The Postal Reorganization Act (“PRA”), 39 U.S.C.

§ 101 et seq., generally “waives immunity of the Postal Service from suit giving it the power ‘to

sue and be sued in its official name.’” Postal Service v. Flamingo Indus. (USA) Ltd., 540 U.S. 736,

741 (2004). But, “[w]hile Congress waived the immunity of the Postal Service, Congress did not

strip it of its governmental status. The distinction is important. An absence of immunity does not

result in liability if the substantive law in question is not intended to reach the federal entity.” Id.

at 743–44. This two-step analysis was first articulated by the Supreme Court in FDIC v. Meyer,
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510 U.S. 471, 484 (1994): “If there has been such a waiver, as in this case, the second inquiry

comes into play—that is, whether the source of substantive law upon which the claimant relies

provides an avenue for relief.” Id. CNT’s claims fail at the second step.

       CNT does not articulate a legal source of substantive law for the relief it seeks in Counts I

and III of the Complaint; instead, its claims are equitable. To begin, CNT cannot challenge the

PCSC’s decision under the Administrative Procedures Act (“APA”). That the Postal Service’s

exercise of power is exempt from judicial review under the APA is a well-settled principle of law

in various circuits. Mittleman v. Postal Regulatory Com’n, 757 F.3d 300, 305 (D.C. Cir. 2014)

(“[a]s a consequence, we have observed that ‘the Postal Service is exempt from review under the

Administrative Procedure Act.’”); N. Air Cargo v. U.S. Postal Serv., 674 F.3d 852, 858 (D.C. Cir.

2012); Carlin v. McKean, 823 F.2d 620, 622–23 (D.C.Cir.1987); Nat’l Easter Seal Soc’y for

Crippled Children & Adults v. U.S. Postal Serv., 656 F.2d 754, 766–67 (D.C.Cir.1981); Currier

v. Potter, 379 F.3d 716, 725 (9th Cir.2004); Booher v. U.S. Postal Serv., 843 F.2d 943, 945 (6th

Cir.1988); Harrison v. U.S. Postal Serv., 840 F.2d 1149, 1155 (4th Cir.1988).

       “[N]on-statutory review” of Postal Service decisions “is available only to determine

whether the agency has acted ‘ultra vires’—that is, whether it has ‘exceeded its statutory

authority.’” Mittleman v. Postal Regulatory Commission, 757 F.3d 300, 307 (D.C. Cir. 2014).3

CNT’s Complaint provides no basis to conclude that PCSC exceeded its authority in resolving the

underlying revenue deficiency. Instead, the opposite is true: by CNT’s own allegations, the PCSC



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  In the D.C. Circuit, prior cases permitting non-statutory review do not survive Mittleman, as
subsequently explained in Sears, Roebuck & Co. v. U.S. Postal Serv., 844 F.3d 260, 265 (D.C. Cir.
2016). The Court in Sears permitted “reasoned decisionmaking review” in that case only because
the Postal Service raised the argument that it was exempt from APA review at the trial level, and
the D.C. Circuit ruled the defense had been waived. Id. The Postal Service is not waiving that
defense here.
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simply applied the clear, published mail regulations applicable to Registered Mail services to CNT,

resulting in a revenue deficiency for which CNT is required to pay, and now challenges. Such an

action cannot be held to be ultra vires. And, absent an ultra vires action, this Court lacks

jurisdiction to consider CNT’s claims.

       The reality is that CNT declared a false, lower value than the actual value of its Registered

Mail parcels, and therefore paid less in postage for Registered Mail services than it should have.

CNT attempts to justify its conduct by claiming it did so based upon the amount of indemnity

insurance it elected to purchase, and that it did so with the Postal Service’s consent. This argument

is a red herring. During the relevant time period, the Postal Service’s Registered Mail rates did

not offer a rate that allowed mailers an option to purchase insurance.4 Even if such an option

existed, however, pursuant to Postal Service regulations, CNT was nonetheless required to declare

the full value of the parcels it was shipping. “Regardless of any insurance that may cover the

article, the mailer must always declare its full value to the USPS when presenting it for registration

and mailing.” DMM 503.2.3.1. The declared value is the sole basis for,5 and is directly correlated

with, the Registered Mail postage fee owed by a postal customer. Id. at 503.2.1; see also Exhibit




4
  Prior to June 8, 1997, mailers had the option to purchase Registered Mail services with or without
insurance. PRC Op., Docket No. MC96-3, at 129-30 (April 2, 1997) found at
https://www.prc.gov/dockets/doclist/MC96-3/Opinion-and-Recommended-Decision/. The no-
insurance option was completely eliminated from Registered Mail services on January 10,
1999. PRC Op, Docket No. R97-1, at 570-71 (May 11, 1998) found at
https://www.prc.gov/prcarchive/viewpdf.aspx?docid=26814;
https://www.prc.gov/prcarchive/viewpdf.aspx?docid=26815.
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  Except for items with a declared value of $15,000,000 or more, not at issue here, the sole basis
for the rate is the declared value. See Exhibit A, infra.

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A (relevant DMM provisions). 6 CNT’s argument that it should be allowed to declare a value that

is contrary to the regulations, and the Postal Service’s refusal to allow CNT to do so, plainly

manifests that in issuing the revenue deficiency to CNT, the Postal Service was acting to enforce

its regulations, which is clearly within the scope of the Postal Service’s authority. See 39 U.S.C.

§§ 404, 2402 (setting forth the USPS’s authority to prescribe, in accordance with law, the amount

of postage to be paid, and its authority to collect debts due to it, respectively).

        Indeed, if allowed, CNT’s request for special treatment would undermine the uniform,

national system of rates envisioned by Congress and regulated by the Postal Regulatory

Commission.7 The Court should recognize this suit for what it is: an attempt by a volume mailer

to avoid paying the substantial postage that it owes because it failed to follow the regulations.

CNT’s claim that Postal Service employees were aware of its conduct and allegedly “acquiesced”

does not excuse it from the consequences of repeatedly underpaying postage by understating the

values of their parcels. Put simply, CNT must now pay the amount of postage it should have paid

to begin.




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 See attached relevant excerpts from the DMM published July 17, 2007 and May 12, 2008, along
with the Registered Mail fee schedule published in the DMM. In its Counterclaim, the Postal
Service inadvertently stated that postal rates changed four times during the operative period.
Counterclm. at ¶ 35. In fact, only two published rates apply to the operative period, they were
published in the DMM, and are contained in Exhibit A. Only the published and applicable rates
were used to calculate the deficiency.
7
 Since the Postal Accountability and Enhancement Act’s enactment in 2006, the Postal Regulatory
Commission’s final approval of rates decisions may only be reviewed in the United States Court
of Appeals for the District of Columbia if proceedings are instituted within 30 days of a final
decision of the Postal Regulatory Commission. 39 U.S.C. § 3663.


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       The Postal Service does not contest the Court’s authority to review the final agency

decision, so long as review is limited to a determination of whether the Postal Service, through the

PCSC, acted outside the scope of its authority, and the review is limited to the administrative

record that was before the PCSC. As to CNT’s equitable claims, however, “[u]nless the plaintiffs

can direct us to a statute or regulation creating the right they seek to enforce, we have no

jurisdiction over the subject matter of their dispute with the Postal Service.” Tedesco v. U.S. Postal

Serv., 553 F. Supp. 1387, 1988 (W.D. Pa. 1983)(holding that the district court lacked jurisdiction

to consider plaintiffs’ service complaint because the Postal Regulatory Act did not create an

implied private right of action).

       CNT cannot do so, and this Court lacks subject matter jurisdiction to consider its claims.

       B.      The Postal Service Did Not Act Ultra Vires In Uniformly Applying Its
               Regulations

       CNT does not refer to, much less dispute, the language of the mail regulations, nor can it.

At all relevant times, mailers requesting Registered Mail services were required by law to declare

the “full value” of articles that were presented for Registered Mail services. “Regardless of any

insurance that may cover the article, the mailer must always declare its full value to the USPS

when presenting [packages] for registration and mailing.” DMM 503.2.3.1. Contrary to CNT’s

claim, private insurance carried on registered mail does not modify the requirements for declaring

the full value. Id. The value to be declared for precious metals sent with Registered Mail services

is the market value or cost. Id. 8 The declared value is the sole basis for, and is directly correlated



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  The requirement to declare “full value” is a long standing requirement, published in a Notice of
Proposed Rule Making, 26 FR 6029-6031 (July 5, 1961) and that went into effect on August 15,
1961. Indeed, the explanation of the value to be declared for precious metals has remained exactly
the same for over 55 years. See id.

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with, the Registered Mail fee owed by a postal customer. Id. at 503.2.1; see also Ex. A. As the

declared value of the parcel increases, so too does the Registered Mail fee. Id.

       During the relevant time period, from December 1, 2007, through February 28, 2009, CNT

mailed thousands of parcels containing precious metals via First Class mail with Registered Mail

services added, and CNT admits that, during the relevant time, it did not declare the actual values

of the parcels it mailed, arguing that the declared value for its parcels was “based solely on the

level of insurance sought.” Compl. ¶ 15. CNT maintains that Postal Service employees said it was

not required to declare an actual value, but only a value for insurance. Id. at ¶¶ 37-38.

       In reviewing CNT’s appeal of the revenue deficiency against it, the PCSC considered

CNT’s claim that it was misinformed by Postal Service employees. However, it is clear that, even

if true, “despite any statement by any USPS employee, the burden rests with the mailer to comply

with the laws and standards governing domestic mail.” DMM 607.1.1. As a result, regardless of

any alleged statements by Postal Service employees, CNT was obligated by the regulations to

declare the full value, and to pay the correct rate for mailing parcels. Indeed, had the PCSC failed

to apply the law, it would have acted ultra vires, as the Postal Service cannot grant undue

preference to a mailer. See 39 U.S.C. § 403(c) (“In providing services and in establishing

classifications, rates, and fees under this title, [USPS] shall not, except as specifically authorized

in this title, make any undue or unreasonable discrimination among users of the mails, nor shall it

grant any undue or unreasonable preferences to any such user.”)(emphasis added).

       Because the Postal Service did not act ultra vires, this Court cannot consider CNT’s claims.

       C.      CNT’s Claims Fail Under A Theory Of Equitable Estoppel

       Even if this Court were to consider CNT’s equitable claims, they fail as a matter of law.

CNT asserts that the PCSC’s deficiency against it for its failure to declare the full value for

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Registered Mail parcels is inequitable or unfair because postal employees “authorized” CNT to

understate the values. As set forth above, even if true, representations by a Postal Service

employee does not absolve CNT of its obligation to pay the rate mandated by the regulations, nor

does it allow the Postal Service to apply a different rate to CNT. In any case, such a contention

falls far short of alleging the required ultra vires agency action that would provide this Court with

the ability to review the Postal Service’s actions and its decision. The PCSC must apply the mail

regulations. CNT asks this Court to reverse the PCSC’s legally correct application of uniform

Postal Service regulations, and to consider its claims based on equity. That request is far beyond

the scope of non-statutory review permitted under Mittleman. Thus, CNT’s claims should be

dismissed.

       CNT describes itself as a substantial mailer. Compl. ¶ 8. As to its Registered Mail parcels,

CNT “regularly shipped its parcels of precious metals with nominal declared values of either

$100.00 or $1,000.00 notwithstanding that the actual values were typically higher.” Id. at ¶ 10.

CNT’s “packages were worth millions of dollars.” Id. at ¶ 23. CNT declared a value for its parcels

that was not based upon the actual value of its shipments, but instead was “based solely on the

level of insurance sought,” Id. at ¶ 15. CNT alleges that Postal Service employees said CNT was

not required to declare an actual value, but only a value for insurance purposes. Id. at ¶¶ 37-38.

CNT presented registered mail parcels as “sealed mail items to Postal Service employees for

mailing.” Compare Countercl. ¶ 27, with Pl. Ans. ¶ 27. The values declared by CNT were utilized

by Postal Service employees to calculate the Registered Mail fees CNT was to pay. Id.

       In its Complaint, CNT notably fails to cite to the regulations concerning Registered Mail.

Instead, CNT refers to an April 20, 2009 e-mail correspondence in which a Postal Service Help

Desk employee responds to a person identifying herself as CNT’s insurance adjuster inquiring

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what federal law governs enforcement of declarations of value, and erroneously states that a mailer

is not required by law to list the full value of an item being mailed domestically with Registered

Mail (Compl. Ex. F at 35-36). This e-mail correspondence takes place after the assessed period

of the deficiency. Nonetheless, CNT uses this e-mail as evidence that as a “direct and proximate

result” of its reasonable reliance upon Postal Service employees’ representations and conduct, it

“suffered substantial damages.” Id. at ¶ 40-41. Despite its lack of merit, while seeking a reversal

of the deficiency assessment from this Court, CNT fails to specify how it was damaged.

                      1.      Equitable Estoppel And The Government

       Estoppel is an equitable doctrine invoked to avoid injustice in particular cases. Heckler v.

Community Health Services, 467 U.S. 51, 59 (1984). Equitable estoppel in its traditional form

does not apply against the federal government. Frillz, Inc. v. Lader, 104 F.3d 515, 518 (1st

Cir.1997) (citations omitted). See also United States v. Ven–Fuel, Inc., 758 F.2d 741, 761 (1st

Cir.1985)(stating that the traditional doctrine of equitable estoppel does not apply fully in cases

against the government)(quoting Akbarin v. INS, 669 F.2d 839, 842 (1st Cir.1982):

               When then the Government is unable to enforce the law because the
               conduct of its agents has given rise to an estoppel, the interest of the
               citizenry as a whole in obedience to the rule of law is undermined.
               It is for this reason that it is well settled that the Government may
               not be estopped on the same terms as any other litigant.

Community Health Services, 467 U.S. 51, 60. Later, in Office of Personnel Management v.

Richmond, 496 U.S. 414 (1990), the Supreme Court concluded:

               In sum, Courts of Appeals have taken our statements as an invitation
               to search for an appropriate case in which to apply estoppel against
               the Government, yet we have reversed every finding of estoppel that
               we have reviewed.




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Id. at 422.   As the First Circuit has held, “[i]f estoppel against the government poses any

viability...the phenomenon occurs only in the most extreme circumstances.” Dantran, Inc. v.

United States Dept. of Labor, 171 F.3d 58, 66 (1st Cir.1999); see also Mimiya Hospital, Inc. SNF

v. U.S. Dep't of Health and Human Services, 331 F.3d 178, 183 n. 1 (1st Cir.2003)(highly

disfavoring equitable estoppel against the government). This is not such a case.

       A party asserting estoppel against the government must first demonstrate the traditional

elements of estoppel:

               If one person makes a definite misrepresentation of fact to another
               person having reason to believe that the other will rely upon it and
               the other in reasonable reliance upon it does an act...the first person
               is not entitled...to regain property or its value that the other acquired
               by the act, if the other in reliance upon the misrepresentation and
               before discovery of the truth has so changed his position that it
               would be unjust to deprive him of that which he thus acquired.

Community Health Services, 467 U.S. at 59.

       As the Supreme Court summarized:

               Thus, the party claiming the estoppel must have relied on its
               adversary’s conduct “in such a manner as to change his position for
               the worse,” and that reliance must have been reasonable in that the
               party claiming the estoppel did not know nor should it have known
               that its adversary’s conduct was misleading.

Id. (citations omitted). The burden for bringing an equitable estoppel claim against the

government, if it is available, is greater than one brought against a private citizen. Dantran, 171

F.3d at 66. If the traditional elements of estoppel are met “[a]t a minimum, the party raising the

defense [of estoppel] must have reasonably relied on some ‘affirmative misconduct’ attributable

to the sovereign.” Ven–Fuel, 758 F.2d at 761; Frillz, 104 F.3d 518. Neither carelessness nor a



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reluctance to be of assistance are tantamount to affirmative misbehavior. Ven–Fuel, 758 F.2d at

761; See also Dantran, 171 F.3d at 67.

          CNT cannot meet its burden in this case.

                         2.     CNT’s Equitable Estoppel Allegations

          In its Complaint, CNT alleges that: (a) Postal Service employees informed it that it was not

required to declare the “actual value” for Registered Mail parcels;9 (b) said CNT was only required

to declare the value it sought to be insured; (c) led CNT to believe it was authorized to declare its

parcels at nominal values of $100.00 or $1,000.00 because postal workers used CNT’s declarations

to process its mail at the Registered Mail rate; (d) CNT reasonably relied upon the statements and

actions of Postal Service employees; and (e) CNT “suffered substantial damages” as a result.

                         3.     CNT’s Reliance On The Alleged Statements And Actions Of Postal
                                Employees Was Not Reasonable

          Reasonable reliance by the party seeking to invoke the estoppel doctrine must be present

for a claim of equitable estoppel against the government to succeed. Community Health Services,

467 U.S. at 59. Reliance is reasonable only if “the party claiming the estoppel did not know nor

should it have known that its adversary’s conduct was misleading.” Id. Assuming that Postal

Service employees informed CNT that it was not required to declare the “actual value” for its

Registered Mail parcels, that advice directly conflicted with the clear wording of the published

Registered Mail regulations which require CNT to declare the “full value” of its parcels, and that

further specify precious metals must be declared at market value or cost. The DMM specifically

cautions that despite any statement that might be made by any Postal Service employee, the burden




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    For purposes of this motion only the Postal Service assumes these facts to be true.
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rests with the mailer to comply with the laws and standards governing domestic mail. DMM

607.1.1.

       A “party cannot justifiably rely for estoppel purposes on a government agent’s

representation that the law provides to the contrary.” Dantran, 171 F.3d at 67. The regulations

clearly required CNT to declare the market value or cost of its parcels. CNT cannot negate the

notice in the regulations by relying upon the alleged directly contradictory statements of

employees. Merrill, 332 U.S. at 384 (“the United States will not be “estopped by its agents who

act … contrary to statute and regulations.”). Similarly, the First Circuit has refused to find

reasonable reliance when a postal employee gave verbal advice to a customer that was contrary to

the regulations. As explained in A.E. Alie and Sons, Inc., v. U.S. Postal Service, a case based on a

contract claim,

                  [a postal customer] wished to mail a number of pieces, whose total
                  value was $60,000, to the same addressee. Alie was not sure
                  whether he could mail them all in one package, insured for that
                  amount, or whether $25,000 was the maximum limit per package,
                  so that there would have to be three. The reason for his doubt was
                  that the registered mail receipt read, “$25,000.00 Domestic
                  Insurance Limit.” Alie, accordingly, made inquiry of the postal
                  clerk and was assured that if he declared a larger amount and paid
                  the additional fee shown on the schedule the insurance would apply
                  to the full amount. Alie accepted this representation and proceeded
                  accordingly. The single package was lost.

897 F.2d 591, 593 (1st Cir. 1990). Acting on an equitable estoppel theory, the court found that

reliance on the “oral representations of a postal worker that a statement in an official receipt is

meaningless[]” was not reasonable as a matter of law. Id.

       Here, CNT claims that it reasonably relied upon statements of Postal employees to act

contrary to clear, published mail regulations to ship thousands of parcels over an extended period

of time without paying full postage. Clearly, CNT should have known that any advice it received

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to declare a value that was not the actual, market value or cost, was wrong, especially as CNT was

obligated to familiarize itself with the applicable regulations. Community Health 467 U.S. at 64

(ongoing participant in the Medicare program, “had a duty to familiarize itself with the legal

requirements for cost reimbursement” under the program).10 CNT cannot allege that its reliance

on these alleged statements in contravention of the regulations, and which would have rendered

the regulations meaningless, is reasonable.

       CNT’s claim that Postal employees advised that it could state the value of the parcels based

upon the desired level of insurance also does not meet the test of reasonableness. First, the

regulations specifically require the mailer to declare the “full value” of the articles “regardless of

any insurance that may cover the article,” and further dictates that precious metals be declared at

“market value” or “cost.” DMM 503.2.3.1. Second, given the explicit regulatory directive, which

CNT was obligated to know, any value declared that is not the “market value” or “cost” is

undoubtedly a false statement. In order to accept that CNT reasonably relied upon Postal

employees’ guidance to declare the value based upon insurance, the Court would have to accept

that Postal employees’ statements gave CNT license to be untruthful and misrepresent the value

of its mailings to the Postal Service. On its face, CNT’s contention is unreasonable, and especially

so when considering that CNT was a high-volume mailer.

         Finally, the fact that Postal workers relied upon the nominal values declared by CNT to

calculate the Registered Mail rates it charged CNT does not show that CNT’s actions were



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   The DMM is available to all mailers at USPS.com. The current Registered Mail rates are
available at https://pe.usps.com/text/dmm300/503.htm#ep1238627 and archived copies are
available at https://pe.usps.com/Archive/DMM. Notably, the rates for Registered Mail were
included in the DMM for the operative period. See Exhibit A, supra. CNT had to access the DMM
to review the rates, but asks the Court to believe it did not, and was not required to have done so.

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authorized, nor does the Postal Service’s acceptance of CNT’s parcels for mailing reflect evidence

of CNT’s reliance. As admitted by CNT, CNT provided Postal employees with sealed parcels for

mailing, with CNT’s declaration of values. Postal workers relied upon the declared values to

calculate the Registered Mail rates. This reflects the Postal Service’s reliance upon CNT’s

misrepresentations, not the contrary. Further, as set forth above, Postal Service regulations do not

allow mailers to rely upon a postal clerk’s acceptance of mail to avoid its obligations, and the First

Circuit has found such reliance to be unreasonable:11

               The USPS is an enterprise with, undoubtedly, thousands of postal
               clerks. Such low-level employees must be known to have minimum
               authority. If it could be found reasonable to think they had authority
               to expose the Service to unlimited obligations, as in this case, it
               would seem apparent that the Service could face bankruptcy.

A.E. Alie & Sons, Inc., 897 F.2d at 593 (citing Phelps v. Federal Emergency Management Agency,

782 F.2d 13, 17 (1st Cir. 1986), quoting Equitable Estoppel of the Government, 79 Colum.L.Rev.

551, 565 (1979)). Thus, CNT’s estoppel claims based on the acceptance of mail and the alleged

statements made by postal employees fails for lack of any reliance, much less reasonable reliance.

                       4.      CNT’s Evasion Of Rate Payment Cannot Be Considered Cognizable
                               Harm

       CNT seeks to avoid paying postage it was obligated to pay, and its allegations suggest that

there was a Registered Mail rate that was based upon optional insurance, in support of its actions.




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   DMM 607.1.2 provides, “a USPS employee’s signature on the postage statement and the
subsequent acceptance of the mailing do not constitute the verified accuracy of that statement, and
do not limit the liability of the USPS to demand proper payment after acceptance when it becomes
apparent such payment was not made.”
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As set forth above, an optional insurance rate does not exist today, and, more importantly, it did

not exist during the relevant time period.12

          The Supreme Court has refused to allow estoppel against the government when the

government sought to recover money to which the private party was not entitled. Community

Health Services, 467 U.S. 51. Here, CNT was required to pay a postage rate to the Postal Service;

it should not be allowed to thwart its obligations and the Postal Service’s recovery efforts by

alleging equitable estoppel for money to which it is not entitled. CNT underpaid postage by

claiming “nominal value” for its mail “notwithstanding that the actual values were typically

higher,” and it did so for thousands of packages over a 15-month period of time. A party asserting

an equitable defense “shall have acted fairly and without fraud or deceit as to the controversy in

issue.” Precision Instrument Mfg. Co. v. Auto. Maint. Mach. Co., 324 U.S. 806, 814-15 (1945).

          Accordingly, CNT’s equitable claims are not cognizable and should be precluded.

                         5.    CNT Did Not Rely To Its Detriment, Nor Did It Change Its Position
                               For The Worse

          A party claiming estoppel must have relied on its adversary’s conduct “in such a manner

as to change his position for the worse.” Community Health Services, 467 U.S. at 59 (citations

omitted). CNT cannot demonstrate reasonable reliance on any actions or statements attributed to

the Postal Service, and cannot prove that it relied upon any claims to its detriment or that it changed

its position for the worse. CNT alleges that it has “suffered substantial damages” yet CNT’s




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     See footnote 4, supra.




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Complaint fails to reference any detrimental reliance, and nowhere does CNT claim it changed its

position for the worse based upon its reliance on any alleged statements or acts at issue.

        Notably, during the administrative appeal CNT admitted that, if it had known of the Postal

Service’s requirements to state full value of the items it was mailing, it would have either

purchased insurance through the Service (as CNT’s shipping costs are passed on to the customer)

or utilized a different carrier for shipping purposes. AR at 41. Indeed, this evidences no detriment

at all, as CNT would have had to pay more to the Postal Service or to use another carrier. Even if

CNT was not on notice of the regulations, which this Court should not credit, CNT fails to

demonstrate the requisite reliance on Postal Service statements causing CNT to change its position

for the worse. To the contrary, the Postal Service seeks only to collect the postage due that CNT

should have paid.

        C.      CNT’s Claim For Unjust Enrichment Interferes With The Rate Structure
                Created By Congress

        Despite the fact that Registered Mail rates with optional insurance did not exist, CNT

alleges that by only declaring the value for its parcels that it wished to be insured for, it effectively

paid the appropriate rate. Consequently, CNT argues, it would be damaged if the Court ordered it

to pay the rate required for the full value of its parcels. Compl. ¶¶ 53-59. In other words, if this

Court allows CNT’s claims, and reverses the deficiency, this Court will enforce the rate that CNT

itself essentially created by only declaring the values it desired. And, without any basis, CNT asks

this Court to assume that it cost the Postal Service less to deliver CNT’s parcels at the lower values

declared by CNT. Id. CNT further concludes, incorrectly, that because insurance coverage was

only provided for the nominal rates declared by CNT, allowing the Postal Service to recover would

be allowing the Postal Service to recover more than it expended on CNT’s parcels – characterizing

this as “unjust enrichment” and a “detriment” to CNT. Id. Even if valid, however, CNT fails to
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establish how such an individualized post hoc assessment of the “cost” of delivering these mailings

would be relevant or even obtainable.

       Postal service regulations do not require that the Postal Service prove its “costs” before it

may apply the correct postage rate. Sears Roebuck & Co., v. U.S. Postal Service, 134 F.Supp. 3d

365, 382 (D.D.C. 2015) aff’d in part, vacated in part, rev’d in part sub nom, Sears Roebuck &

Co., v. U.S. Postal Service, 844 F.3d. 365, 382 (D.C. Cir. 2016) (“The deficiencies assessed are

not for the purpose of ameliorating an injury, but were for the payment of postage due and owing

because Plaintiffs had paid for postage at an incorrect rate.”). To require postage to be custom

tailored and based upon the particularized mailing practices of each mailer would interfere with

the rate structure envisioned by Congress and regulated by the Postal Regulatory Commission,

creating a “flood of rate litigation.” See id.

       The First Circuit has recognized that impeding the government’s authority to enforce valid

laws in the context of an equitable estoppel claim would

               insinuate the Judicial Branch into the Executive Branch’s exclusive
               preserve and would carry a serious potential of undermining the
               Executive Branch’s policies and priority setting in enforcing the
               laws—a result that is no more palatable than frustrating the
               congressional will.

Dantran, 171 F.3d at 67 (referencing United States v. Marine Shale Processors, 81 F.3d 1329,

1348-49 (5th Cir.1996) and FDIC v. Hulsey, 22 F.3d 1472, 1489 (10th Cir.1994)).

       Allowing CNT to avoid payment of the Registered Mail rates that uniformly apply to all

mailers violates the rate structure created by Congress, and should not be countenanced by this

Court on equitable estoppel grounds.




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                                         CONCLUSION

       For the foregoing reasons, Defendant respectfully requests that Count I and III of CNT’s

Complaint be dismissed pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6).


                                              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        I, Eve A. Piemonte, Assistant United States Attorney, hereby certify that this document
filed through the ECF system will be sent electronically to the registered participants as identified
on the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants.

                                                      /s/ Eve A. Piemonte
                                                      Eve A. Piemonte
Dated: July 25, 2018                                  Assistant United States Attorney



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